     Case: 4:16-cv-00052-DMB-JMV Doc #: 942 Filed: 10/19/20 1 of 1 PageID #: 34625




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

BRENDA J. COOPER, et al.                                                           PLAINTIFFS

V.                                                                 NO. 4:16-CV-52-DMB-JMV

MERITOR, INC., et al.                                                           DEFENDANTS


                                            ORDER

        On October 16, 2020, United States Magistrate Judge Jane M. Virden, with the consent of

the parties, issued an order directing the parties to attend a mediation. Doc. #941. The order

provides that “all deadlines pending pursuant to the current Case Management Order are suspended

and held in abeyance until the Court convenes a status conference following receipt of the

mediation report referenced in paragraph 2. If any claims remain, the Court shall enter a new Case

Management Order resetting applicable deadlines.” Id. at 2.

        Because the upcoming mediation may resolve all claims in this case, the motion for

summary judgment filed by Meritor, Inc., The Boeing Company, and Rockwell Automation, Inc.,

[925] is DENIED without prejudice. Should the mediation fail to resolve all claims, the Court

will reinstate the motion for summary judgment, including all briefing and submissions, without

further action from the parties.

        SO ORDERED, this 19th day of October, 2020.

                                                    /s/Debra M. Brown
                                                    UNITED STATES DISTRICT JUDGE
